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Statues at Large;

BEING

A COLLECTION
OF ALL THE \

LAWS OF VIRGINIA,

FROM THE

: FIRST SESSION OF THE LEGISLATURE,

[IN THE YEAR 1619.

*UBLISHED PURSUANT TO AN ACT OF THE GENERAL ASSEMBLY OF VIRGINIA,
PASSED ON THF FIFTH DAY OF FEBRUARY ONE THOU-
SAND EIGHT HUNDRED AND EIGHT.

VOLUME f.

By WILLIAM WALLER HENING.

“The Laws of a country are necesearily connected with every thing heloneing to the people of it;
® that a theruugh knowledge of them. and of their progress, would mfoim us of every Uhing that
was most useful to be known about them; and one of the greates: imperfections et histurians wp
geveral, is owing to their ignorance of law.” _Preestley’s Lect. on Hist, Vol. 1. pe. a9
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MARCH, 1642-3—18th CHARLES Ist. 255

letter R. and passe vnder the statute of incorrigible the cheek
rogues, Provided notwithstanding that where any ser- wit"! the let
vants shall have just cause of complaint against their
masters or mistrises by harsh or vnehristianlike vsage p,oyico in
or otherways for want of diet, or Convenient necessa- case of ill
ryes that then it shall be lawfull for any such servant ‘use of mes
or servants to repaire to the next comissioner to make “"
his or their complaint, And if the said commissioner
shall find by good and sufficient proofes, that the said
servant's cause of complaint is just, The said comission-
er is hereby required to give order for the warning of
any such master or mistris before the comissioners in
their several] county courts, where the matter in difler-
ence shall be decided as they in their discretions shall
think fitt, And that care be had that no such servant
or servants be misvsed by their masters or mistrises,
_ where they shall find the cause of complaint to be just.
Be it further also enacted that if any servant running Felony te
away as aforesaid shall carrie either peice, powder and {oy ue to
shott, And leave either all or any of them with the In- the Indians
dians, And being thereof lawfully convicted shall suffer
death as in case of flelony,

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ACT XXIII.’

BE it also enacted and confirmed, that what person penatty for
or persons soever shall sell or barter with any In- selling anns
dian or Indians for peece, powder and shott and being *"¢ ¢™nu"'
thereof lawfully convicted, shall forfeit his whole estate, Indians, or
the one halfe to the informer the other halfe to the vse dealing with
of the county where such flact shall be committed, And “*™
if any person shall barter or trade with the Indians for
any other comodities such person shall sufler imprison-
ment at the discretion of the Governour and Counsell,

And whereas it is informed that divers persons do en-
tertaine Indians to kill deare or other game, Aud do-
furnish the said Indians with peeces, powder and shott,
by which great abuse, not onely the Indians (to the
great indangering of the collony) are instructed in the
vse of uvr arms, But have opportunity given them to
store themselves as well with arms as powder and shott,
Be it therefore enacted, That what person or persons
soever within the collony, shall lend any Indian either
peece, powder and shott, It shall be lawfull for any
person meeting with any such Indian so furnished, te
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256 LAWS OF VIRGINIA,

take away either peece, powder or shott, so as such per-
son taking away either peece, powder or shott do carrie
the same to the comander of the county, and acquaint
him therewith, which said comander is hereby autho-
rized to give possession to the informer either of the
peece, powder or shott so brought before bim, And
the said commander is further required. to make a strict
inquiry and examination to find out such person that
did lend or give such peece, powder or shott to the In-
dians, And in case the said commander or other cam-
manders in examination shall find any person by just
proofe delinquent in the premises, he or they are to
bind over the said party to answer the same, before the
Governor and Counsell the ensuing quarter court, And
in such case the party delinquent for his just offence
shall forfeit two thousand pounds of tobacco, the one

halfe whereof shall be and come to the King’s majes-

ty, the other halfe to the informer, And it is further

enacted that such delinquent for his second offence

shall forfeit his whole estate, one halfe to the King, the

other halfe to the informer. And this act to be of force

after publication hereof in each county,

ACT XXIV.

Process THE Governor and Counsell with the Burgesses of
Sgainet debt. the Grand Assembly haveinge taken into serious con-
rived from sideration the estate of the collony and fiad:ng that
England many people have (through their ingagements in Eng-
euspended. land) forsaken their native countrey and repaired hither
with resolution to abide here, hopeiug in time to gain
some competency of subsistance by their labors, Yet
neverth’Jes their creditors hearing of their aboad here
in the collony, have prosecuted them with their actions
to the ruine of the said debtors, And having duely
weighed the causes and reasons induceing such debt-
ors to leave their countrey and friends, Aud if such
suits and pleas be thus early admitted before the coun-
trey shall come to better maturity, It might hazard the
deserting of a great part of the country, ‘Therefore that
the generall yood be preferred before the particular
ends of any person, The Governor, Counsell and Bur-
gesses do h reby enact and confirm, that all process &
suits of this nature be suspended vatil his majestie shall
